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 1                                                                   The Honorable Richard A. Jones
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
 9
10 UNITED STATES OF AMERICA,                               No. CR19-231 RAJ
11                                  Plaintiff,             ORDER SCHEDULING
                                                           TRIAL DATE
12                          v.
13 JOSUE OSORIO-GRANADENO,
14                                  Defendant.
15
16         Having considered the record and the parties’ agreement to schedule the trial date in
17 February 2021, and General Orders 02-20, 07-20, 08-20, 11-20, 13-20, 14-20, and 15-20 for
18 the Western District of Washington, and having heard from the parties in open court, the
19 Court FINDS that neither the trial nor in-person hearings can proceed any earlier than
20 January 2021. For the reasons detailed in the parties’ agreed motion, the ends of justice
21 served by scheduling the trial in February 2021 outweigh the best interests of the public and
22 the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(i), (iv).
23         IT IS THEREFORE ORDERED that the parties’ motion to continue the trial date
24 (Dkt. #36) is GRANTED. The trial is scheduled for February 8, 2021, at 9:00 a.m. All
25 pretrial motions, including motions in limine, are due by January 7, 2021.
26         IT IS FURTHER ORDERED that the time between the date of this Order and the
27 February 8, 2021, trial date is excluded in computing the time within which trial must
28 commence because the ends of justice served by granting this continuance outweigh the best


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1 interest of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Failure
2 to grant this continuance would likely make trial impossible and result in a miscarriage of
3 justice, and would deny counsel for the defendant and government counsel the reasonable
4 time necessary for effective preparation, taking into account the exercise of due diligence. Id.
5 § 3161(h)(7)(B)(i), (iv).
6
7          DATED this 6th day of November, 2020.
8
9                                                          A
10                                                         The Honorable Richard A. Jones
11                                                         United States District Judge
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     ORDER SCHEDULING TRIAL DATE
     United States v. Osorio-Granadeno, CR19-231 RAJ – 2
